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     1Bruce Locke (#177787)

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 5   Attorneys for Sharice Williams

 6                                        UNITED STATES DISTRICT COURT
 7                                EASTERN DISTRICT OF CALIFORNIA
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10           United States,
                                                                 No. 2:15-CR-185 TLN
11                               Plaintiff,

12                   v.                                  STIPULATION AND ORDER TO AMEND

13           Sharice Williams, et. al,.                  THE CONDITIONS OF PRE-TRIAL

14                               Defendant.              RELEASE

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20           IT IS HEREBY STIPULATED AND AGREED between the defendant, Sharice Williams,

21   by and through her undersigned defense counsel, and the United States of America, by and

22   through its counsel, Assistant U.S. Attorney Roger Yang, that the conditions of Ms. Williams pre-

23   trial release should be amended to include a requirement that Ms. Williams undergo mental health

24   counseling at the direction of her pre-trial officer.

25           The reason for the amendment to the conditions of release is that Ms. Williams is
     undergoing stress as a result of her personal relations and all parties, including her pre-trial
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     1officer, believe that it would be in her best interest to undergo counseling at this time. Mr. Yang
      has authorized Mr. Locke to sign this pleading for him.

 2           Accordingly, the conditions of pre-trial release should be amended to include the

 3    following condition:

 4                           You shall participate in a program of medical or psychiatric
                     treatment, including treatment for drug or alcohol dependency, as
 5                   approved by the pretrial services officer. You shall pay all or part of
                     the costs of the counseling services based upon your ability to pay,
 6                   as determined by the pretrial services officer.

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 8           Date: July 14, 2016                             /s/ Bruce Locke
                                                            BRUCE LOCKE
 9                                                          Attorney for Sharice Williams

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11
             Date: July 14, 2016                             /s/ Bruce Locke
12                                                          For ROGER YANG
                                                            Assistant United States Attorney
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15           IT IS SO ORDERED.

16    Dated: July 18, 2016
                                                       _____________________________________
17                                                     CAROLYN K. DELANEY
                                                       UNITED STATES MAGISTRATE JUDGE
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